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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                       
                                October 1, 2015
                                       
                                       

In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 1[st] day of October, 2015.

10-14-00237-CV	MARY ALICE EMANUEL, ERVIN MITCHEL EMANUEL, SHIRLEY ANN RIVERS, JAMES EDWARD EMANUEL, ROY LEONARD EMANUEL, CLAUDIA FAY HASHEMI AND EVELYN M. DUPLESSIS v. DARRELL EARL EMANUEL AND CEDRIC ROYDELL EMANUEL - ON APPEAL FROM THE 87[TH] DISTRICT COURT OF LEON COUNTY - TRIAL COURT NO. 0-10-465  -  DISMISSED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion of this Court that the appeal should be dismissed; it is therefore ordered, adjudged and decreed that the appeal be, and hereby is, dismissed for want of jurisdiction.  It is further ordered that Appellants Mary Alice Emanuel, Ervin Mitchel Emanuel, Shirley Ann Rivers, James Edward Emanuel, Roy Leonard Emanuel, Claudia Fay Hashemi and Evelyn M. Duplessis pay all costs in this behalf expended and that this decision be certified below for observance."
